                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE
                                      AT KNOXVILLE

 UNITED STATES OF AMERICA,                             )
                                                       )
                        Plaintiff,                     )
                                                       )          No. 3:14-CR-85
 v.                                                    )
                                                       )
 ROBERT N. HICKS,                                      )          (PHILLIPS / SHIRLEY)
                                                       )
                        Defendant.                     )
                                                       )

                          ORDER OF CONTINUED COMMITMENT

                All pretrial motions in this case have been referred to the undersigned pursuant to

 28 U.S.C. § 636(b) for disposition or report and recommendation regarding disposition by the

 District Court as may be appropriate. This matter came before the Court for a telephone

 conference on April 2, 2015. Assistant United States Attorney Caryn L. Hebets appeared on

 behalf of the Government. Attorney James W. Clements, III, represented the Defendant Robert

 Hicks.

                By way of background, the Court observes that on October 24, 2014, the

 undersigned found [Doc. 279] Defendant Hicks to be incompetent to stand trial. At that time, the

 Court committed the Defendant to the custody of the Attorney General for up to four months of

 treatment at an appropriate federal medical facility in order to determine whether there exists a

 substantial probability that the defendant will attain the capacity to permit the trial to take place

 in the foreseeable future. 18 U.S.C. § 4241(d)(1). Defendant Hicks was admitted to the Federal

 Medical Center in Butner, North Carolina (FMC Butner), on December 23, 2014. Drs. Robert E.

 Cochrane, forensic psychologist, and Bryon Herbel, psychiatrist, have submitted a Forensic

 Evaluation to the Court. Both counsel have also received a copy of this report. Drs. Cochrane


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 and Herbel state that the Defendant has refused treatment with antipsychotic medicine. They

 have provided the Court with a proposed treatment plan for involuntarily medicating Defendant

 Hicks.

               During the April 2 telephone conference, the parties discussed the process by

 which the Court would consider whether to order Defendant Hicks to be involuntarily medicated.

 The Government may file a petition for involuntary medication on or before April 24, 2015.

 Defense counsel may respond to this petition by May 8, 2015. The Court will hold a hearing on

 the petition on May 18, 2015, at 2:00 p.m. The parties are to include in their filings their

 proposal of how the Court should conduct that hearing and whether they seek to have Drs.

 Cochrane and Herbel testify via video conference.

               The Court ORDERS that Defendant Hicks remain hospitalized at FMC Butner

 for an additional four-month period of treatment while the Court resolves the issue of whether

 the Defendant shall be involuntarily medicated as well as the terms and conditions of any

 involuntary medication and also to determine whether there is a substantial probability that the

 Defendant will attain the capacity to permit the trial to proceed. 18 U.S.C. § 4241(d)(2)(A). In

 this regard, the Court notes that Drs. Cochrane and Herbel opine in the Forensic Evaluation that

 involuntary treatment of the Defendant with antipsychotic medication is both medically

 appropriate and substantially likely to render him competent to stand trial. Accordingly, the

 Court finds that resolution of the issue of whether the Defendant should be involuntarily

 medicated is necessary to the determination of whether the Defendant can be rendered

 competent. This commitment order supplements and extends the Court’s Order of Commitment

 [Doc. 279] of October 24, 2014.




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            Accordingly, it is ORDERED:

            (1) The Defendant is COMMITTED to the custody of the
            Attorney General for an additional four-month period for
            treatment, evaluation, and testing;

            (2) The Defendant SHALL REMAIN hospitalized at FMC Butner
            for this additional four-month period;

            (3) If at the end of the four-month treatment period, the evaluating
            staff at FMC Butner determine that an additional reasonable period
            of treatment is needed, the facility shall make written request of the
            same of the Court;

            (4) If at the end of the treatment period, the evaluating staff at
            FMC Butner determine that there is not a substantial probability
            that the Defendant’s competence will be restored in the foreseeable
            future, the facility is to send a report of same to the Court. In such
            case, the Defendant shall not be transported back to the district but
            SHALL REMAIN at the treating facility;

            (5) The Government shall file a petition on the issue of the
            Defendant’s involuntary medication on or before April 24, 2015;

            (6) Defense counsel shall file a response to the petition by May
            8, 2015;

            (7) The Government and defense counsel shall appear for a
            hearing on the petition on May 18, 2015, at 2:00 p.m.;

            (8) The Clerk of Court is DIRECTED to serve copies of this
            Order on counsel of record and to serve three certified copies on
            the United States Marshal; and

            (9) The Clerk of Court is also DIRECTED to send three copies of
            this Order to Warden Kenny Atkinson, FMC Butner. One copy is
            for the Warden’s records, and the other two copies are for Drs.
            Cochrane and Herber.

            IT IS SO ORDERED.

                                           ENTER:

                                                s/ C. Clifford Shirley, Jr.
                                           United States Magistrate Judge


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